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 1   [Submitting Counsel on Signature Page]
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 8                                    UNITED STATES DISTRICT COURT
 9                                NORTHERN DISTRICT OF CALIFORNIA
10                                       SAN FRANCISCO DIVISION
11

12   IN RE: JUUL LABS, INC., MARKETING,                 Case No. 19-md-02913-WHO
     SALES PRACTICES, AND PRODUCTS
13   LIABILITY LITIGATION                               STIPULATION AND [PROPOSED]
                                                        ORDER TO AMEND TRIBAL CASE
14                                                      SCHEDULE
     This Document Relates to:
15                                                      Judge:    Hon. William H. Orrick
     Cheyenne and Arapaho Tribes of Oklahoma v.
16   Juul Labs, Inc. et al., Case No. 3:21-cv-05134

17   Fond Du Lac Band of Lake Superior
     Chippewa v. Juul Labs, Inc., et al., Case No.
18   3:20-cv-03995

19   Klamath Tribes v. Juul Labs, Inc., et al., Case
     No. 3:20-cv-03987
20

21
            The parties jointly stipulate and agree, subject to the Court’s approval, to amend certain deadlines
22
     applicable in the above-captioned cases.
23
            WHEREAS on January 24, 2022, the Court entered an order outlining pretrial deadlines in the
24
     Tribal bellwether litigation. See Dkt. No. 2794 (adopting the parties’ proposed tribal case schedule and
25
     bellwether selection process).
26
            WHEREAS on July 28, 2022, the Court entered a further order outlining pretrial deadlines in the
27
     Tribal bellwether litigation. See Dkt. No. 3363 (adopting the parties’ proposed amended schedule).
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                                                         1                          Case No. 3:19-md-02913-WHO
            Case 3:19-md-02913-WHO Document 4197 Filed 02/20/24 Page 2 of 8



 1          WHEREAS on February 14, 2023, the Court entered a further order outlining pretrial deadlines in
 2   the Tribal bellwether litigation. See Dkt. No. 3794 (adopting the parties’ proposed amended schedule).
 3          WHEREAS on April 20, 2023, the Court entered a further order outlining pretrial deadlines in the
 4   Tribal bellwether litigation. See Dkt. No. 3933 (adopting the parties’ proposed amended schedule).
 5          WHEREAS on May 19, 2023, the Court entered a further order outlining pretrial deadlines in the
 6   Tribal bellwether litigation. See Dkt. No. 4038 (adopting the parties’ proposed amended schedule).
 7          WHEREAS on July 20, 2023, the Court entered a further order outlining pretrial deadlines in the
 8   Tribal bellwether litigation. See Dkt. No. 4069 (adopting the parties’ proposed amended schedule).
 9          WHEREAS on September 19, 2023, the Court entered a further order outlining pretrial deadlines
10   in the Tribal bellwether litigation. See Dkt. No. 4139 (adopting the parties’ proposed amended schedule).
11          WHEREAS on November 17, 2023, the Court entered a further order outlining pretrial deadlines
12   in the Tribal bellwether litigation. See Dkt. No. 4155 (adopting the parties’ proposed amended schedule).
13          WHEREAS on December 8, 2023, the Court entered a further order outlining pretrial deadlines in
14   the Tribal bellwether litigation. See Dkt. No. 4170 (adopting the parties’ proposed amended schedule).
15          WHEREAS, in order to accommodate the schedules of the parties and deponents, the parties have
16   met and conferred and, subject to the Court’s approval, the parties jointly propose a revised schedule for
17   the deadlines below.
18          WHEREAS, subject to the Court’s approval, the parties state as follows:
19          1.      The parties agree that the deposition of Plaintiffs’ expert, Dr. Martin Kovach, will take
20                  place on March 18, 2024;
21          2.      To accommodate Dr. Kovach’s deposition, the parties propose an extension of the deadline
22                  for Defendants’ expert report(s) to March 28, 2024.
23          3.      The parties’ proposed revised schedule of deadlines for the three tribal bellwether cases is
24                  as follows:
25                          Event                         Current deadline          Proposed deadline
26
         Depositions of Plaintiffs’ Experts                   March 12, 2024             March 18, 2024
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                                                         2                          Case No. 3:19-md-02913-WHO
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 1                           Event                          Current deadline          Proposed deadline
 2       Defendants’ Expert Reports1                             March 12, 2024            March 28, 2024
 3       Depositions of Defendants’ Experts                        June 7, 2024              June 7, 2024
         Deadline to file Summary Judgment and                    June 11, 2024              July 3, 2024
 4       Daubert Motions
         Deadline to file Oppositions to Summary                 August 16, 2024        September 6, 2024
 5       Judgment and Daubert Motions
 6       Deadline to file Replies in support of                September 6, 2024           October 1, 2024
         Summary Judgment and Daubert Motions
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     The parties therefore respectfully request that the Court enter an Order establishing the above deadlines.
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     Dated: February 20, 2024                                       Respectfully submitted,
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26     Plaintiffs reserve their right to seek submission of rebuttal expert reports following submission of
     Defendants’ expert reports. Defendants dispute that rebuttal expert reports would be appropriate, and reserve
27   all rights to contest any attempt by Plaintiffs to seek their submission.

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     Case 3:19-md-02913-WHO Document 4197 Filed 02/20/24 Page 5 of 8



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     LIABILITY LITIGATION                                  [PROPOSED] ORDER TO AMEND
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14   This Document Relates to:                             Judge:    Hon. William H. Orrick
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     3:20-cv-03995
18
     Klamath Tribes v. Juul Labs, Inc., et al., Case
19   No. 3:20-cv-03987
20

21          The Court hereby adopts the Parties’ stipulations regarding deadlines in the above-referenced tribal

22   bellwether cases as follows:

23          1.      In all tribal bellwether cases, the deadlines will be extended as follows:

24                          Event                          Current deadline          Proposed deadline
25       Depositions of Plaintiffs’ Experts                    March 12, 2024             March 18, 2024
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27

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                                                          6                          Case No. 3:19-md-02913-WHO
            Case 3:19-md-02913-WHO Document 4197 Filed 02/20/24 Page 7 of 8



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 7

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 9
     Date: February 20, 2024                        ______                          _____________________
10                                                           HONORABLE WILLIAM H. ORRICK
                                                             United States District Judge
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     Defendants’ expert reports. Defendants dispute that rebuttal expert reports would be appropriate, and reserve
27   all rights to contest any attempt by Plaintiffs to seek their submission.

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                                                           7                          Case No. 3:19-md-02913-WHO
            Case 3:19-md-02913-WHO Document 4197 Filed 02/20/24 Page 8 of 8



 1                                      CERTIFICATE OF SERVICE
 2          I hereby certify that on February 20, 2024, I electronically filed the foregoing document with the
 3   Clerk of the Court using the CM/ECF system, which will automatically send notification of the filing to
 4   all counsel of record.
 5                                                       By: /s/ Lauren S. Wulfe
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